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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TAMSIN WOLF                                                    Index No. 09-CV-06549-RJS
                                              Plaintiff,

                          vs.

TIME WARNER INC.
                                            Defendant.



 DECLARATION OF KIMMBERLY M. BULKLEY IN SUPPORT OF DEFENDANT’S
                 MOTION FOR SUMMARY JUDGMENT

I, Kimmberly M. Bulkley, declare, under penalty of perjury, as follows:

  1.   I am Assistant General Counsel at Time Warner Inc. (“Time Warner”).

  2.   It is my practice to create talking points for managerial meetings at which I am expected

       to speak on sensitive topics, including discussions regarding performance. This has been

       my practice throughout my career at Time Warner.

  3.   It is also my practice to use the talking points as a script for my statements at the subject

       meeting, and I cover all of the written points in substance, if not verbatim. If I do not

       cover a written point at a meeting, it is my practice to make a note of that   --   or of any

       other substantive departure from my prepared remarks     --   on the face of the document.

       (See. e.g., HC01605.)

  4.   It is also my practice to take handwritten notes at meetings I attend. The notes reflect my

       contemporaneous observation of statements made at the meeting. It is my regular

       practice to save such notes.

  5.   I have examined documents bearing the following Bates numbers which contain my

       talking points for meetings I have attended at Time Warner: TimeWamerELOO969-70

       (2/12/07 meeting), TimeWarnerHC0 1353 (3/19/07 meeting), TimeWarnerHCO 1685-86
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     (4/30/07 meeting), TimeWamerHC0 1789-90 (7/5/07 meeting), TimeWarnerHC0 1713-15

     (7/19/07 meeting), and TimeWamerHCOO63O-32 (8/6/07 meeting). These talking points

     fully and accurately reflect the substance of my comments in those meetings.

6.   I have examined documents bearing the following Bates numbers which contain my

     handwritten notes: TimeWarnerHC0 1605 (notes from 2/12/07 meeting),

     TimeWarnerHC0 1539 (notes from 2/26/07 meeting), TimeWamerllC0 1542 (notes from

     3/5/07 meeting), TimeWarnerHC0 1543 (notes from 2/07 or 3/07 meeting),

     TimeWarnerHC0 1544 (notes from 3/07 meeting), TimeWamerHCOl4O7-08 (notes from

     4/24/07 meetings), TimeWarnerHC0 1409 (4/25/0 7 meeting), TimeWamerHC0 1687

     (notes from 4/30/07 meeting), TimeWamerHC0 1787 (notes from 6/28/07 meeting),

     TimeWarnerHC0 1760 (notes from 7/12/07 meeting), TimeWarnerHC0 1640 (notes from

     7/19/07 meeting), TimeWarnerHCOl654-55 (notes from 7/23/07 meeting), and

     TimeWarnerHCOl64l (notes from 7/24/07 meeting). These notes, which were taken

     contemporaneously with the meetings they describe, accurately reflect the substance of

     those meetings and statements made during those meetings.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on October    5, 2011.




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